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Company, GEICO Indemnity Company, GEICO General Insurance
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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK



GOVERNMENT EMPLOYEES INSURANCE
COMPANY, GEICO INDEMNITY COMPANY, GEICO
GENERAL INSURANCE COMPANY, and GEICO                              Docket No.:          ( )
CASUALTY COMPANY,
                                                                 Plaintiffs Demand a Trial by
                                  Plaintiffs,                                 Jury
               -against-

STAR MEDICAL DIAGNOSTIC, P.C., NEW YORK
MEDICAL & DIAGNOSTIC CARE, P.C., PERVAIZ
QURESHI, M.D., ROBERT SOLOMON, M.D., NAIYER
IMAM, M.D., and SASAN AZAR, M.D.,


                                   Defendants.



                                          COMPLAINT

       Plaintiffs Government Employees Insurance Company, GEICO Indemnity Company,

GEICO General Insurance Company, and GEICO Casualty Company (collectively “GEICO” or

“Plaintiffs”), as and for their Complaint against the Defendants, hereby allege as follows:




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                                 NATURE OF THE ACTION

       1.      This action seeks to recover more than $9,500,000.00 that the Defendants have

wrongfully obtained from GEICO by submitting, and causing to be submitted, thousands of

fraudulent, unlawful, and non-reimbursable no-fault (“no-fault”, “personal injury protection”, or

“PIP”) insurance charges through Defendants Star Medical Diagnostic, P.C. (“Star Medical”) and

New York Medical & Diagnostic Care, P.C. (“New York Medical”), relating to medically

unnecessary, illusory, unlawful, and otherwise non-reimbursable radiology services including

magnetic resonance imaging (“MRIs”)(collectively the “Fraudulent Services”), that purportedly

were provided to New York automobile accident victims (“Insureds”) who were eligible for

coverage under GEICO no-fault insurance policies.

       2.      In addition, GEICO seeks a declaration that – at all relevant times – Star Medical

and New York Medical were not in compliance with all significant laws and regulations governing

health care practice, including licensing laws, and are not entitled to collect on any of their

outstanding billing to GEICO, because of the fraudulent and unlawful activities described herein.

       3.      As set forth below, Defendants at all relevant times have known that:

       (i)     the Fraudulent Services provided through Star Medical and New York Medical
               were not medically necessary, and were provided – to the extent that they were
               provided at all – pursuant to pre-determined fraudulent protocols designed to
               financially enrich the Defendants and others, rather than to treat or otherwise
               benefit the Insureds who purportedly were subjected to them;

       (ii)    in many cases, the Fraudulent Services at Star Medical and New York Medical were
               never legitimately provided in the first instance;

       (iii)   in many cases, the Fraudulent Services were ineligible for reimbursement because
               they were performed – to the extent that they were performed at all – by
               independent contractors, rather than by Star Medical and New York Medical’s
               employees; and

       (iv)    neither the Defendants, nor the Fraudulent Services, were in compliance with all
               significant laws and regulations governing health care practice in New York,
               including licensing laws.

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         4.       As such, the Defendants do not now have – and never had – any right to be

compensated for the Fraudulent Services that were billed through Star Medical and New York

Medical to GEICO.

         5.       The charts annexed hereto as Exhibits “1” and “2” set forth a large and

representative sample of the fraudulent claims that have been identified to-date that the Defendants

have submitted, or caused to be submitted, to GEICO for the Fraudulent Services.

         6.       The Defendants’ fraudulent and unlawful scheme began as early as 2019 and has

continued uninterrupted since that time. As a result of the Defendants’ scheme, GEICO has

incurred damages of more than $9,500,000.00.

                                           THE PARTIES

   I.          Plaintiffs

         7.       Plaintiffs Government Employees Insurance Co., GEICO Indemnity Co., GEICO

General Insurance Company and GEICO Casualty Co. are Nebraska corporations with their

principal places of business in Chevy Chase, Maryland. Plaintiffs are authorized to conduct

business and to issue automobile insurance policies in New York.

   II.         Defendants

         8.       Defendant Star Medical is a New York medical professional corporation with its

principal place of business in New York, and was incorporated on or about January 31, 2020.

         9.       Star Medical purports to be owned and controlled by Pervaiz Qureshi, M.D.

(“Qureshi”) and Robert Solomon, M.D. (“Solomon”), and has been used as a vehicle to submit

fraudulent and unlawful PIP billing to GEICO and other insurers in New York.

         10.      Defendant New York Medical is a New York medical professional corporation with

its principal place of business in New York, and was incorporated on or about February 9, 2016.

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        11.     New York Medical purports to be owned and controlled by Qureshi and Solomon,

and has been used as a vehicle to submit fraudulent and unlawful PIP billing to GEICO and other

insurers in New York.

        12.     Defendant Qureshi resides in and is a citizen of New York. Qureshi is a physician

who was licensed to practice medicine in New York on or about July 1, 1994. Qureshi is an

internist, not a radiologist.

        13.     At all relevant times, Qureshi has purported to be the majority owner of Star

Medical and New York Medical, and purports to own 95% of each practice.

        14.     Defendant Solomon resides in and is a citizen of New York. Solomon was licensed

to practice medicine in New York on or about October 31, 1989, and is a radiologist.

        15.     Solomon purportedly owns 5% of both Star Medical and New York Medical and

purported to perform many of the Fraudulent Services on behalf of Star Medical and New York

Medical.

        16.     Defendant Naiyer Imam, M.D. (“Imam”) resides in and is a citizen of New Jersey.

Iman was licensed to practice medicine in New York on or about May 23, 2002, and is a

radiologist.

        17.     Imam purported to perform many of the Fraudulent Services on behalf of Star

Medical and New York Medical, and also purported to be a minority owner of Star Medical from

January 2020 to September 2021, and of New York Medical from February 2016 to September

2021.

        18.     Over the course of at least 2019-2021, Imam was subjected to professional

discipline in various states where he was licensed to practice medicine, including Minnesota,

California, Maryland, North Carolina, Arizona Illinois, Mississippi, Texas, Florida, Michigan, and



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Massachusetts, after he was found to have engaged in conduct with respect to a patient that failed

to conform to the minimal standards of acceptable and prevailing medical practice. Upon

information and belief, Imam’s history of professional discipline – which can be located by

prospective patients, employers, and referral sources via an Internet search – has made it difficult

for him to find legitimate employment as a physician and contributed to his motive to participate

in the fraudulent and unlawful scheme described herein.

       19.     Defendant Sasan Azar, M.D.(“Azar”) resides in and is a citizen of New York. Azar

was licensed to practice medicine on or about November 8, 1993, and is a radiologist.

       20.     Azar purported to perform many of the Fraudulent Services on behalf of Star

Medical and New York Medical.

                                 JURISDICTION AND VENUE

       21.     This Court has jurisdiction over the subject matter of this action under 28 U.S.C. §

1332(a)(1) because the total matter in controversy, exclusive of interest and costs, exceeds the

jurisdictional threshold of $75,000.00, and is between citizens of different states.

       22.     This Court also has original jurisdiction pursuant to 28 U.S.C. § 1331 over claims

brought under 18 U.S.C. §§ 1961 et seq. (the Racketeer Influenced and Corrupt Organizations

(“RICO”) Act).

       23.     In addition, this Court has supplemental jurisdiction over the subject matter of the

claims asserted in this action pursuant to 28 U.S.C. § 1367.

       24.     Venue in this District is appropriate pursuant to 28 U.S.C. § 1391, as the Eastern

District of New York is the District where one or more of the Defendants reside and because this

is the District where a substantial amount of the activities forming the basis of the Complaint

occurred.



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       25.        For example, the Defendants submitted or caused to be submitted a large amount

of fraudulent billing to GEICO under New York automobile insurance policies, for treatment that

they purported to provide to GEICO’s New York-based Insureds. In reliance on the fraudulent

claims, personnel at a GEICO office in the Eastern District of New York issued payment on the

fraudulent claims.

       26.        What is more, and as set forth herein, the Defendants transacted substantial business

in New York, and derived a substantial amount of revenue based on their fraudulent and unlawful

business activities in New York.

       27.        Moreover, and as set forth herein, the Defendants regularly committed tortious acts

within the Eastern District of New York that caused injury to GEICO.

                          ALLEGATIONS COMMON TO ALL CLAIMS

       28.        GEICO underwrites automobile insurance in New York.

I.     An Overview of the Pertinent New York Law Governing No-Fault Insurance
       Reimbursement

       29.        New York’s no-fault insurance laws are designed to ensure that injured victims of

motor vehicle accidents have an efficient mechanism to pay for and receive the health care services

that they need.

       30.        Under New York’s Comprehensive Motor Vehicle Insurance Reparations Act

(N.Y. Ins. Law §§ 5101, et seq.) and the regulations promulgated pursuant thereto (11 N.Y.C.R.R.

§§ 65, et seq.)(the “No-Fault Law”), automobile insurers are required to provide no-fault insurance

benefits (“Personal Injury Protection” or “PIP Benefits”) to Insureds.

       31.        In New York, PIP Benefits include up to $50,000.00 per Insured for necessary

expenses that are incurred for health care goods and services.




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       32.     In New York, an Insured can assign their right to PIP Benefits to health care goods

and services providers in exchange for those services.

       33.     In New York, pursuant to a duly executed assignment, a health care provider may

submit claims directly to an insurance company and receive payment for medically necessary

services, using the claim form required by the New York State Department of Insurance (known

as “Verification of Treatment by Attending Physician or Other Provider of Health Service” or,

more commonly, as an “NF-3”) or by using the Health Care Financing Administration insurance

claim form (known as the “HCFA-1500 form” or “CMS-1500 form”).

       34.     Pursuant to the No-Fault Law, health care services providers are not eligible to bill

for or to collect PIP Benefits if they fail to meet any New York State or local licensing requirements

necessary to provide the underlying services, or if they fail to meet the applicable licensing

requirements in any other states in which such services are performed.

       35.     For instance, the implementing regulation adopted by the New York

Superintendent of Insurance, 11 N.Y.C.R.R. § 65-3.16(a)(12) states, in pertinent part, as follows:

       A provider of health care services is not eligible for reimbursement under section 5102(a)(1)
       of the Insurance Law if the provider fails to meet any applicable New York State or local
       licensing requirement necessary to perform such service in New York or meet any applicable
       licensing requirement necessary to perform such service in any other state in which such
       service is performed.

(Emphasis added).

       36.     New York law prohibits licensed health care services providers, including licensed

physicians and medical practices, from paying or accepting compensation in exchange for patient

referrals. See, e.g., New York Education Law §§ 6509-a; 6530; 6531; see also 8 N.Y.C.R.R. §

29.1. Health care providers that pay or receive kickbacks or unlawful compensation of any kind in

exchange for patient referrals are not eligible to receive PIP Benefits.



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        37.     Additionally, New York law requires the shareholders of a professional corporation

to be engaged in the practice of their profession through the professional corporation in order for

it to be lawfully licensed. See, e.g., N.Y. Business Corporation Law § 1507.

        38.     Therefore, under the No-Fault Law, a professional corporation is not eligible to

receive PIP Benefits if it is owned by a person who does not actually practice their profession

through the corporation.

        39.     Pursuant to the No-Fault Law, only health care services providers in possession of a

direct assignment of benefits are entitled to bill for and collect PIP Benefits. There is both a statutory

and regulatory prohibition against payment of PIP Benefits to anyone other than the patient or their

health care services provider. The implementing regulation adopted by the Superintendent of

Insurance, 11 N.Y.C.R.R. § 65-3.11, states – in pertinent part – as follows:

        An insurer shall pay benefits for any element of loss … directly to the applicant or ... upon
        assignment by the applicant ... shall pay benefits directly to providers of health care services
        as covered under section five thousand one hundred two (a)(1) of the Insurance Law…

        40.     Accordingly, for a health care services provider to be eligible to bill for and to collect

PIP Benefits in New York, it must be the actual provider of the underlying health care services.

Under the No-Fault Law, a health care services provider is not eligible to collect PIP Benefits for

health care services rendered by individuals, such as independent contractors, who are not employees

of the health care services provider.

        41.     In New York, claims for PIP Benefits are governed by the New York Workers’

Compensation Fee Schedule (the “NY Fee Schedule”).

        42.     When a health care services provider submits a claim for PIP Benefits using the

current procedural terminology (“CPT”) codes set forth in the NY Fee Schedule, it represents that:

(i) the service described by the specific CPT code that is used was performed in a competent



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manner in accordance with applicable laws and regulations; (ii) the service described by the

specific CPT code that is used was reasonable and medically necessary; and (iii) the service and

the attendant fee were not excessive.

       43.     Pursuant to New York Insurance Law § 403, the NF-3 and HCFA-1500 forms

submitted by a health care services provider to GEICO, and to all other automobile insurers, must

be verified by the health care provider subject to the following warning:

       Any person who knowingly and with intent to defraud any insurance company or other
       person files an application for insurance or statement of claim containing any materially false
       information, or conceals for the purpose of misleading, information concerning any fact
       material thereto, commits a fraudulent insurance act, which is a crime.

II.    The Defendants’ Fraudulent Scheme

       44.     Beginning no later than 2019, and continuing through the present day, the Defendants

conceived and implemented a fraudulent scheme in which they caused a massive amount of

fraudulent and unlawful PIP billing to be submitted to GEICO for medically unnecessary, illusory,

unlawful, and otherwise non-reimbursable services in New York.

A.     The Unlawful Operation of Star Medical and New York Medical in Violation of N.Y.
       Business Corporation Law § 1507

       45.     As set forth above, N.Y. Business Corporation Law § 1507 makes clear that a

physician shareholder of a medical professional corporation must be engaged in the practice of

medicine through the professional corporation in order for it to be lawfully licensed. Section 1507

provides as follows:

       Issuance of shares

       A professional service corporation may issue shares only to individuals who are authorized
       by law to practice in this state a profession which such corporation is authorized to practice
       and who are or have been engaged in the practice of such profession in such
       corporation…or who will engage in the practice of such profession in such corporation
       within thirty days of the date such shares are issued….All shares issued, agreements made,
       or proxies granted in violation of this section shall be void.

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       46.      Legislative history confirms that a medical professional corporation’s putative

physician-owners not only must be licensed to practice medicine but must also be engaged in the

practice of medicine through the medical professional corporation. For example, in commenting

on the proposed amendment to Section 1507 in 1971, the State Education Department stated:

       This bill amends the Business Corporation Law in relation to the operation of professional
       service corporations. While this bill allows more flexibility in the ownership and transfer
       of professional service corporation stock, it maintains the basic concept of restricting
       ownership to professionals working within the corporation.

       47.      Similarly, the New York Department of State commented that:

       Section 1507 currently limits issuance of shares in such corporation to persons licensed by
       this State to practice the profession which the corporation is authorized to practice and who
       so practice in such corporation or a predecessor entity.

       48.      New York’s Department of Health was of the same opinion, commenting that;

       The bill would amend Article 15 of the Business Corporation Law pertaining to professional
       service corporations to allow the issuance of shares of individuals who will engage in the
       practice of the profession within 30 days of the date such shares are issued, in addition to
       those presently so engaged…. (Emphasis added.)

       49.      Nonetheless, Qureshi has not legitimately engaged in the practice of medicine

through Star Medical and New York Medical as required by New York law.

       50.      In fact, Qureshi gave testimony during an examination under oath (“EUO”) in which

he indicated that he does not perform any medical services through New York Medical as required

by New York law.

       51.      Additionally, Qureshi does not supervise any of the treatment or services that

allegedly are provided to patients of Star Medical and New York Medical. Nor does Qureshi train

any of the medical professionals that allegedly provide medical services for Star Medical and New

York Medical.




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       52.     Qureshi has never been qualified to provide and/or supervise the Fraudulent

Services that were allegedly provided by the medical professionals associated with Star Medical

and New York Medical, and billed to GEICO.

       53.     For example, Qureshi is a physician who purports to specialize in internal medicine,

and has neither the training nor the expertise to perform or supervise the purported radiology services

billed through Star Medical and New York Medical to GEICO.

       54.     In the claims identified in Exhibits “1” and “2”, the Defendants falsely represented

that Star Medical and New York Medical were eligible to collect PIP Benefits, when in fact they

were not because they operated in violation of N.Y. Business Corporation Law § 1507.

B.     The Fraudulent and Unlawful Billing for Independent Contractor Services

       55.     The Defendants’ fraudulent scheme also included submission of claims to GEICO

on behalf of Star Medical and New York Medical seeking payment for services provided by

independent contractors.

       56.     As set forth above, under the No-Fault Law, health care providers are ineligible to

bill for or receive payment for health care services that are performed by independent contractors –

the health care services must be performed by the health care providers, themselves, or by their

employees.

       57.     According to testimony given by Qureshi during an EUO, Star Medical and New

York Medical have utilized the services of at least five purported MRI technicians since 2022,

including individuals named Malik Awan (“Awan”), Jigar Patel (“Patel”), Hilal Yousaf

(“Yousaf”), Berry Terkin (“Terkin”), and Ronald Beauge (“Beauge”) (collectively the

“Technicians”).




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       58.     The Technicians and every other MRI technician associated with Star Medical and

New York Medical were never employed by Star Medical or New York Medical – rather, they were

independent contractors.

       59.     For instance, Star Medical and New York Medical:

       (i)     permitted the Technicians to set their own schedules and days on which they desired
               to perform services;

       (ii)    permitted the technicians to maintain non-exclusive relationships and perform
               services for their own practices and on behalf of other, competing health care
               providers;

       (iii)   failed to provide the Technicians with any sort of employment agreement; and

       (iv)    failed to provide any supervision to the Technicians by any medical doctor capable
               of supervising the performance of MRIs.

       60.      Because the Technicians were independent contractors, the Defendants never had

any right to bill for or collect PIP Benefits in New York in connection with their services.

       61.     Even so, the Defendants routinely billed for the Fraudulent Services in New York,

and sought payment under the New York No-Fault Laws and GEICO’s New York PIP insurance

policies, as if the Fraudulent Services had been provided by an actual employee of Star Medical or

New York Medical to make it appear as if the services were eligible for PIP reimbursement.

       62.     The Defendants’ misrepresentations were consciously designed to mislead GEICO

into believing that it was obligated to pay for these services, when in fact GEICO was not.

C.     The Defendants’ Unlawful Compensation in Exchange for Patient Referrals and
       Fraudulent and Unlawful Billing for Medically Unnecessary MRIs

       63.     The Defendants’ ability to bill GEICO and other insurers depended upon their ability

to gain access to Insureds.




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       64.     However, in the claims identified in Exhibits “1” and “2”, the Insureds generally

did not require MRIs, because they had been involved in relatively minor, low-speed, low-impact

accidents, which did not cause them to experience any injuries that would warrant MRIs.

       65.     Rather, to the extent that the Insureds in the claims identified in Exhibits “1” and

“2” suffered any injuries at all in their typically-minor accidents, the injuries virtually always were

minor soft tissue injuries such as sprains, strains, or contusions.

       66.     In a legitimate clinical setting, MRIs should not be used as an initial form of

diagnostic imaging in the treatment of patients complaining of soft tissue injuries secondary to

automobile accidents.

       67.     For example, the American College of Radiology – an almost 100 year-old

professional organization with a mission to serve patients and society by empowering members to

advance the practice, science and professions of radiological care – has indicated that MRIs usually

are not appropriate as a first-line diagnostic tool in the treatment of patients complaining of soft

tissue injuries secondary to automobile accidents.

       68.     Along similar lines, the American College of Physicians – a more than 100 year-

old professional organization with a mission to enhance the quality and effectiveness of health care

by fostering excellence and professionalism in the practice of medicine – likewise has indicated

that MRIs usually are not appropriate as a first-line diagnostic tool in the treatment of patients

complaining of soft tissue injuries secondary to automobile accidents.

       69.     Moreover, at all relevant times there were many radiology facilities in New York

that were able to provide radiology services – including MRIs – to automobile accident victims.

These radiology facilities are far more reputable and established than New York Medical and Star

Medical, which engaged in the fraudulent and unlawful conduct described herein, are controlled



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by Qureshi, who is not even a radiologist, and which have employed and been owned, in part, by

Imam, who has a record of professional discipline in numerous states.

       70.     The lack of medical necessity for the Defendants’ Fraudulent Services, and the

plethora of more established and reputable radiology practices in the market, made it difficult for

Star Medical and New York Medical to obtain legitimate referrals from legitimate referral sources.

       71.     However, there are chiropractors and other health care providers in New York that:

(i) purport to provide treatment to patients who are pursuing personal injury lawsuits based on

automobile accidents; and (ii) are in a position to make a substantial number of referrals for MRIs

and other forms of diagnostic imaging.

       72.     These health care providers have an incentive to make it appear as if their patients

are seriously injured, when in fact they are not, in order to support the patients’ personal injury

claims, and to create a false justification for the health care providers to bill for extensive,

medically unnecessary “treatment”.

       73.     Accordingly, the Defendants entered into a secret scheme with their referral

sources, whereby they agreed to provide unlawful compensation in exchange for patient referrals

from the health care providers and their practices to Star Medical and New York Medical.

       74.     In exchange for unlawful compensation from Star Medical, New York Medical,

Qureshi, Solomon, and Imam, these health care providers routinely referred Insureds to Star

Medical and New York Medical for medically unnecessary MRIs and other radiology services,

regardless of the Insureds’ individual symptoms, presentation, or – in most cases – the total

absence of any continuing medical problems arising from any automobile accident.

       75.     As unlawful compensation for the referrals, the Defendants agreed to provide

medically unnecessary MRIs to Insureds, and to generate reports which falsely contended that the



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Insureds suffered from injuries warranting additional treatment from their referral sources, thereby

enabling the referral sources to falsely justify and obtain payment on much more PIP insurance

billing than otherwise would have been available to them.

           76.   The only reason these Insureds were referred to Star Medical and New York

Medical for MRIs was because the Defendants were providing the referring health care providers

unlawful compensation in exchange for the referrals.

           77.   For example, the Defendants routinely purported to provide MRIs to Insureds who

did not require them.

           78.   As set forth above, MRIs should not be used as an initial form of diagnostic imaging

in the treatment of patients complaining of soft tissue injuries secondary to automobile accidents.

           79.   In fact, in a legitimate clinical setting, patients suffering from soft tissue injuries

such as strains or sprains secondary to automobile accidents generally should not receive MRIs

until they complete a legitimate course of conservative treatment.

           80.   This is because the substantial majority of soft tissue injuries such as sprains and

strains will resolve over a period of weeks through conservative treatment, or no treatment at all,

and unnecessary diagnostic imaging can be counterproductive and can even be harmful to the

patient.

           81.   Even so, in order to generate a steady stream of referrals to Star Medical and New

York Medical for medically unnecessary MRIs, and as unlawful compensation for the referrals,

the Defendants routinely purported to perform and/or provide medically unnecessary MRIs to

Insureds as an initial form of diagnostic imaging, soon after the Insureds’ underlying automobile

accidents. This, despite the fact that the Insureds had not suffered any injuries that would warrant




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MRIs, and – in any case – had not, and could not have, legitimately tried and failed a course of

conservative treatment at the time when the MRIs purportedly were provided.

       82.     For example:

       (i)     On November 13, 2019, an Insured named SB was involved in an automobile
               accident. The contemporaneous police report indicated that SB’s vehicle was
               drivable following the accident. The police report further indicated that SB
               complained refused medical attention at the scene. In keeping with the fact that SB
               was not seriously injured, SB did not visit any hospital emergency room following
               the accident. To the extent that SB experienced any health issues at all as a result
               of the accident, they were minor soft tissue injuries that did not require MRIs,
               especially before SB had failed a course of conservative treatment. Even so, New
               York Medical, Qureshi, and Imam purported to provide and billed GEICO for
               medically unnecessary MRIs of SB’s lumbar spine and cervical spine on December
               17, 2019, which was before SB could have failed a legitimate course of
               conservative treatment.

       (ii)    On December 4, 2019, an Insured named IK was involved in an automobile accident.
               The contemporaneous police report indicated that IK’s vehicle was drivable
               following the accident. The police report further indicated that IK was not injured as
               a result of the accident. In keeping with the fact that IK was not seriously injured, IK
               did not visit any hospital emergency room following the accident. To the extent that
               IK experienced any health issues at all as a result of the accident, they were minor
               soft tissue injuries that did not require MRIs, especially before IK had failed a
               course of conservative treatment. Even so, New York Medical, Qureshi, and Imam
               purported to provide and billed GEICO for a medically unnecessary MRI of IK’s
               cervical spine on January 12, 2020, which was before IK could have failed a
               legitimate course of conservative treatment.

       (iii)   On December 4, 2019, an Insured named KK was involved in an automobile
               accident. The contemporaneous police report indicated that KK’s vehicle was
               drivable following the accident. The police report further indicated that KK was not
               injured as a result of the accident. In keeping with the fact that KK was not seriously
               injured, KK did not visit any hospital emergency room following the accident. To
               the extent that KK experienced any health issues at all as a result of the accident,
               they were minor soft tissue injuries that did not require MRIs, especially before KK
               had failed a course of conservative treatment. Even so, New York Medical,
               Qureshi, and Imam purported to provide and billed GEICO for a medically
               unnecessary MRI of KK’s cervical spine on January 5, 2020, which was before KK
               could have failed a legitimate course of conservative treatment.

       (iv)    On December 17, 2019, an Insured named ND was involved in an automobile
               accident. The contemporaneous police report indicated that ND was not injured as a
               result of the accident. The police report further indicated that ND was not transported

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              to any hospital emergency department as a result of the accident. To the extent that
              ND experienced any health issues at all as a result of the accident, they were minor
              soft tissue injuries that did not require MRIs, especially before ND had failed a
              course of conservative treatment. Even so, New York Medical, Qureshi, and Imam
              purported to provide and billed GEICO for medically unnecessary MRIs of ND’s
              cervical spine and lumbar spine on February 1, 2020, which was before ND could
              have failed a legitimate course of conservative treatment.

      (v)     On December 18, 2019, an Insured named MM was involved in an automobile
              accident. The contemporaneous police report indicated that MM’s vehicle was
              drivable following the accident. The police report further indicated that MM was not
              injured as a result of the accident. In keeping with the fact that MM was not seriously
              injured, MM did not visit any hospital emergency room following the accident. To
              the extent that MM experienced any health issues at all as a result of the accident,
              they were minor soft tissue injuries that did not require MRIs, especially before
              MM had failed a course of conservative treatment. Even so, New York Medical,
              Qureshi, and Imam purported to provide and billed GEICO for medically
              unnecessary MRIs of MM’s cervical spine and lumbar spine on January 27, 2020,
              which was before MM could have failed a legitimate course of conservative
              treatment.

      (vi)    On December 20, 2019, an Insured named MR was involved in an automobile
              accident. The contemporaneous police report indicated that MR’s vehicle was
              drivable following the accident. The police report further indicated that MR was not
              injured as a result of the accident. In keeping with the fact that MR was not seriously
              injured, MR did not visit any hospital emergency room following the accident. To
              the extent that MR experienced any health issues at all as a result of the accident,
              they were minor soft tissue injuries that did not require MRIs, especially before MR
              had failed a course of conservative treatment. Even so, New York Medical,
              Qureshi, and Azar purported to provide and billed GEICO for a medically
              unnecessary MRI of MR’s left knee on January 26, 2020, which was before MR
              could have failed a legitimate course of conservative treatment.

      (vii)   On July 2, 2020, an Insured named DH was involved in an automobile accident. The
              contemporaneous police report indicated that DH’s vehicle was drivable following
              the accident. The police report further indicated that DH was not injured as a result
              of the accident. In keeping with the fact that DH not seriously injured, DH did not
              visit any hospital emergency room following the accident. To the extent that DH
              experienced any health issues at all as a result of the accident, they were minor soft
              tissue injuries that did not require MRIs, especially before DH had failed a course
              of conservative treatment. Even so, New York Medical, Qureshi, and Imam
              purported to provide and billed GEICO for medically unnecessary MRIs of DH’s
              lumbar spine and cervical spine on August 10, 2020, which was before DH could
              have failed a legitimate course of conservative treatment.




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      (viii)   On August 18, 2020, an Insured named GU was involved in an automobile accident.
               The contemporaneous police report indicated that GU’s vehicle was drivable
               following the accident. While GU visited a hospital emergency room following the
               accident, the contemporaneous hospital records indicated that GU was treated on an
               outpatient basis and discharged the same day with no serious injury diagnosis. To
               the extent that GU experienced any health issues at all as a result of the accident,
               they were minor soft tissue injuries that did not require MRIs, especially before GU
               had failed a course of conservative treatment. Even so, New York Medical,
               Qureshi, and Azar purported to provide and billed GEICO for a medically
               unnecessary MRI of GU’s right knee on August 28, 2020, which was before GU
               could have failed a legitimate course of conservative treatment.

      (ix)     On August 26, 2020, an Insured named QA was involved in an automobile accident.
               The contemporaneous police report indicated that QA’s vehicle was drivable
               following the accident. While QA visited a hospital emergency room following the
               accident, the contemporaneous hospital records indicated that QA was treated on an
               outpatient basis and discharged the same day with no serious injury diagnosis. To
               the extent that QA experienced any health issues at all as a result of the accident,
               they were minor soft tissue injuries that did not require MRIs, especially before QA
               had failed a course of conservative treatment. Even so, New York Medical,
               Qureshi, Imam, and Azar purported to provide and billed GEICO for medically
               unnecessary MRIs of QA’s thoracic spine and left shoulder on October 5, 2020, as
               well as medically unnecessary MRIs of QA’s cervical spine and lumbar spine on
               October 16, 2020, which were before QA could have failed a legitimate course of
               conservative treatment.

      (x)      On October 5, 2021, an Insured named JS was involved in an automobile accident.
               The contemporaneous police report indicated that JS’s vehicle was drivable
               following the accident. The police report further indicated that JS was not injured as
               a result of the accident. In keeping with the fact that JS was not seriously injured, JS
               did not visit any hospital emergency room following the accident. To the extent that
               JS experienced any health issues at all as a result of the accident, they were minor
               soft tissue injuries that did not require MRIs, especially before JS had failed a
               course of conservative treatment. Even so, Star Medical, Qureshi, and Solomon
               purported to provide and billed GEICO for medically unnecessary MRIs of JS’s
               cervical spine and lumbar spine on November 16, 2021, as well as a medically
               unnecessary MRI of JS’s right shoulder on November 30, 2021, which were before
               JS could have failed a legitimate course of conservative treatment

      (xi)     On November 18, 2021, an Insured named WG was involved in an automobile
               accident. The contemporaneous police report indicated that WG was not injured as a
               result of the accident. The police report further indicated that WG was not transported
               to any hospital emergency department as a result of the accident. To the extent that
               WG experienced any health issues at all as a result of the accident, they were minor
               soft tissue injuries that did not require MRIs, especially before WG had failed a
               course of conservative treatment. Even so, Star Medical, Qureshi, and Solomon

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               purported to provide and billed GEICO for medically unnecessary MRIs of WG’s
               lumbar spine and cervical spine on December 22, 2021, which was before WG
               could have failed a legitimate course of conservative treatment.

      (xii)    On November 18, 2021, an Insured named MH was involved in an automobile
               accident. The contemporaneous police report indicated that MH was not injured as a
               result of the accident. The police report further indicated that MH was not transported
               to any hospital emergency department as a result of the accident. To the extent that
               MH experienced any health issues at all as a result of the accident, they were minor
               soft tissue injuries that did not require MRIs, especially before MH had failed a
               course of conservative treatment. Even so, Star Medical, Qureshi, and Solomon
               purported to provide and billed GEICO for medically unnecessary MRIs of MH’s
               lumbar spine and cervical spine on December 22, 2021, which was before MH had
               a chance to complete a legitimate course of conservative treatment.

      (xiii)   On February 8, 2022, an Insured named DA was involved in an automobile accident.
               The contemporaneous police report indicated that DA’s vehicle was drivable
               following the accident. While DA visited a hospital emergency room following the
               accident, the contemporaneous hospital records indicated that DA was treated on an
               outpatient basis and discharged the same day without any serious injury diagnosis.
               To the extent that DA experienced any health issues at all as a result of the accident,
               they were minor soft tissue injuries that did not require MRIs, especially before DA
               had failed a course of conservative treatment. Even so, Star Medical, Qureshi, and
               Solomon purported to provide and billed GEICO for medically unnecessary MRIs
               of DA’s cervical spine and lumbar spine on March 14, 2022, as well as medically
               unnecessary MRIs of DA’s left shoulder and right shoulder on March 27, 2022,
               which were before DA could have completed a legitimate course of conservative
               treatment.

      (xiv)    On February 14, 2022, an Insured named MG was involved in an automobile
               accident. The contemporaneous police report indicated that MG’s vehicle was
               drivable following the accident. The police report further indicated that MG was not
               injured as a result of the accident. In keeping with the fact that MG was not seriously
               injured, MG did not visit any hospital emergency room following the accident. To
               the extent that MG experienced any health issues at all as a result of the accident,
               they were minor soft tissue injuries that did not require MRIs, especially before
               MG had failed a course of conservative treatment. Even so, Star Medical, Qureshi,
               and Solomon purported to provide and billed GEICO for medically unnecessary
               MRIs of MG’s cervical spine and lumbar spine on March 12, 2022, medically
               unnecessary MRIs of MG’s left shoulder and left knee on March 26, 2022, as well
               as a medically unnecessary MRI of MG’s left elbow on April 9, 2022, which were
               all before MG could have completed a legitimate course of conservative treatment.

      (xv)     On November 4, 2022, an Insured named SB was involved in an automobile accident.
               The contemporaneous police report indicated that SB’s vehicle was drivable
               following the accident. The police report further indicated that SB was not injured as

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              a result of the accident. In keeping with the fact that SB was not seriously injured,
              SB did not visit any hospital emergency room following the accident. To the extent
              that SB experienced any health issues at all as a result of the accident, they were
              minor soft tissue injuries that did not require MRIs, especially before SB had failed
              a course of conservative treatment. Even so, New York Medical, Qureshi, and
              Solomon purported to provide and billed GEICO for medically unnecessary MRIs
              of SB’s lumbar spine and cervical spine on December 13, 2022, which was before
              SB could have failed a legitimate course of conservative treatment.

      (xvi)   On May 12, 2023, an Insured named WF was involved in an automobile accident.
              The contemporaneous police report indicated that WF’s vehicle was drivable
              following the accident. While WF visited a hospital emergency room following the
              accident, the contemporaneous hospital records indicated that WF was treated on an
              outpatient basis and discharged the same day without any serious injury diagnosis.
              To the extent that WF experienced any health issues at all as a result of the accident,
              they were minor soft tissue injuries that did not require MRIs, especially before WF
              had failed a course of conservative treatment. Even so, Star Medical, Qureshi, and
              Solomon purported to provide and billed GEICO for medically unnecessary MRIs
              of WF’s cervical spine and lumbar spine on June 13, 2023, which was before WF
              could have completed a legitimate course of conservative treatment.

      (xvii) On May 13, 2023, an Insured named DJ was involved in an automobile accident. The
             police report indicated that DJ’s vehicle was drivable following the accident. The
             police report further indicated that DJ was not injured as a result of the accident. In
             keeping with the fact that DJ was not seriously injured, DJ did not visit any hospital
             emergency room following the accident. To the extent that DJ experienced any
             health issues at all as a result of the accident, they were minor soft tissue injuries
             that did not require MRIs, especially before DJ had failed a course of conservative
             treatment. Even so, Star Medical, Qureshi, and Solomon purported to provide and
             bill GEICO for medically unnecessary MRI of DJ’s left knee and left shoulder on
             June 8, 2023, which was before DJ could have completed a legitimate course of
             conservative treatment.

      (xviii) On July 12, 2023, an Insured named TW was involved in an automobile accident.
              The contemporaneous police report indicated that TW’s vehicle was drivable
              following the accident. The police report further indicated that TW was not
              transported to any hospital emergency department following the accident. To the
              extent that TW experienced any health issues at all as a result of the accident, they
              were minor soft tissue injuries that did not require MRIs, especially before TW had
              failed a course of conservative treatment. Even so, Star Medical, Qureshi, and
              Solomon purported to provide and billed GEICO for medically unnecessary MRIs
              of TW’s left shoulder and right shoulder on July 31, 2023, medically unnecessary
              MRIs of TW’s cervical spine and lumbar spine on August 17, 2023, and a medically
              unnecessary MRI of TW’s right foot on September 1, 2023, which were all before
              TW could have completed a legitimate course of conservative treatment.



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       (xix)   On November 15, 2023, an Insured named AM was involved in an automobile
               accident. The contemporaneous police report indicated that AM was not transported
               to any hospital emergency department following the accident. To the extent that AM
               experienced any health issues at all as a result of the accident, they were minor soft
               tissue injuries that did not require MRIs, especially before AM had failed a course
               of conservative treatment. Even so, Star Medical, Qureshi, and Solomon purported
               to provide, and billed GEICO for a medically unnecessary MRI of AM’s right
               shoulder on December 14, 2023, medically unnecessary MRIs of AM’s cervical
               spine and lumbar spine of December 21, 2023, as well as a medically unnecessary
               MRI of AM’s thoracic spine on January 4, 2024, which were all before AM had a
               chance to complete any legitimate course of conservative treatment.

       (xx)    On December 15, 2023, an Insured named NG was involved in an automobile
               accident. The contemporaneous police report indicated that NG’s vehicle was
               drivable flowing the accident. The police report further indicated that NG was not
               injured as a result of the accident. In keeping with the fact that NG was not seriously
               injured, NG did not visit any hospital emergency room following the accident. To
               the extent that NG experienced any health issues at all as a result of the accident,
               they were minor soft tissue injuries that did not require MRIs, especially before NG
               had failed a course of conservative treatment. Even so, Star Medical, Qureshi, and
               Solomon purported to provide and billed GEICO for a medically unnecessary MRI
               of NG’s lumbar spine on January 20, 2024, which was before NG could have failed
               a legitimate course of conservative treatment.

       83.     These are only representative examples. In the claims identified in Exhibits “1” and

“2”, the Defendants routinely purported to perform and/or provide medically unnecessary MRIs

to Insureds as an initial form of diagnostic imaging soon after the Insureds’ underlying automobile

accidents, despite the fact that the Insureds: (i) had not suffered any injuries that would warrant

MRIs; and, in any case, (ii) had not, and could not have, legitimately tried and failed a course of

conservative treatment.

       84.     Moreover, in a legitimate clinical setting, it is improbable – to the point of

impossibility – that a large cohort of patients involved in minor automobile accidents not only

would suffer injuries to both their cervical and lumbar or thoracic spines as the result of the minor

accidents, but would suffer injuries serious enough to genuinely warrant both cervical and lumbar




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or thoracic MRIs in the immediate aftermath of the underlying accidents, before the patients had

tried and failed a legitimate course of conservative treatment.

        85.     Even so – and as set forth above – the Defendants routinely purported to perform

and/or provide both cervical and lumbar or thoracic MRIs (as well as other MRIs) with respect to

Insureds who had not been seriously injured in their accidents, did not plausibly require both

cervical and lumbar or thoracic MRIs (or any MRIs), and in any case did not require cervical and

lumbar or thoracic MRIs (or any MRIs) as a first-line diagnostic test, before they had failed a

legitimate course of conservative treatment.

        86.     The Defendants provided their MRIs pursuant to a fraudulent, pre-determined

protocol designed to provide false or exaggerated injury “diagnoses” early on in the Insureds’

courses of treatment, so as to create a false justification for continued, medically unnecessary

treatment and billing by Star Medical and New York Medical’s referral sources, to support the

Insureds’ personal injury claims, to ensure that Star Medical and New York Medical would

continue to receive a steady stream of MRI referrals, and as unlawful compensation for the

referrals.

        87.     There are a substantial number of variables that can affect whether, how, and to what

extent an individual is injured in a given automobile accident.

        88.     An individual’s age, height, weight, general physical condition, location within the

vehicle, and the location of the impact all will affect whether, how, and to what extent an individual

is injured in a given automobile accident.

        89.     It is improbable that two or more Insureds involved in any single motor vehicle

accident would suffer substantially similar injuries or exhibit substantially similar symptomatology

as the result of the accident.



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       90.     It likewise is improbable that two or more Insureds involved in any single motor

vehicle accident not only would suffer from substantially similar injuries and symptomatology as

the result of the accident, but also would require MRIs of the same parts of their bodies as the result

of the accident, at or around the same time after the accident.

       91.     It is even more improbable – to the point of impossibility – that this legitimately

would occur over and over again within a cohort of patients receiving MRIs from a single radiology

provider.

       92.     Even so – and in keeping with the fact that the Defendants provided their MRIs

pursuant to a pre-determined, fraudulent protocol, rather than based on medical necessity, and were

engaged in an unlawful referral scheme with their referral sources – the Defendants routinely

purported to provide substantially identical, medically unnecessary MRIs, on or about the same date,

to two or more Insureds who had been in the same underlying accident, oftentimes before the

Insureds legitimately could have tried and failed a course of conservative treatment.

       93.     For example:

       (i)     On July 23, 2019, two Insureds – AC and AT – were involved in the same automobile
               accident. AC and AT were different ages, in different physical condition, and
               experienced the impact from different positions in the vehicle. To the extent that they
               suffered any injuries at all in the accident, their injuries were different and resolved
               at different rates. They did not require substantially identical MRIs on or about the
               same date after the accident. Even so, New York Medical, Qureshi, and Imam
               submitted bills to GEICO for MRI scans purportedly performed on the cervical and
               lumbar spines of AC on September 9, 2019, and AT on September 12, 2019.

       (ii)    On February 21, 2020, two Insureds – RT and FD – were involved in the same
               automobile accident. RT and FD were different ages, in different physical condition,
               and experienced the impact from different positions in the vehicle. To the extent that
               they suffered any injuries at all in the accident, their injuries were different and
               resolved at different rates. They did not require substantially identical MRIs on or
               about the same date after the accident. Even so, New York Medical, Qureshi, and
               Imam submitted bills to GEICO for MRI scans purportedly performed on the cervical
               and lumbar spines of RT and FD on May 13, 2020.



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      (iii)   On October 19, 2020, two Insureds – HV and JV – were involved in the same
              automobile accident. HV and JV were different ages, in different physical condition,
              and experienced the impact from different positions in the vehicle. To the extent that
              they suffered any injuries at all in the accident, their injuries were different and
              resolved at different rates. They did not require substantially identical MRIs on or
              about the same date after their accident. Even so, Star Medical, Qureshi, and
              Solomon submitted bills to GEICO for MRI scans purportedly performed on the
              cervical and lumbar spines of HV and JV on December 9, 2020.

      (iv)    On January 1, 2021, two Insureds – RB and SF – were involved in the same
              automobile accident. RB and SF were different ages, in different physical condition,
              and experienced the impact from different positions in the vehicle. To the extent that
              they suffered any injuries at all in the accident, their injuries were different and
              resolved at different rates. They did not require substantially identical MRIs on or
              about the same date after the accident. Even so, New York Medical, Qureshi, and
              Imam submitted bills to GEICO for MRI scans purportedly performed on the cervical
              and lumbar spines of RB and SF on March 10, 2021.

      (v)     On February 18, 2021, two Insureds – SH and MH – were involved in the same
              automobile accident. SH and MH were different ages, in different physical condition,
              and experienced the impact from different positions in the vehicle. To the extent that
              they suffered any injuries at all in the accident, their injuries were different and
              resolved at different rates. They did not require substantially identical MRIs on or
              about the same date after their accident. Even so, Star Medical, Qureshi, and
              Solomon submitted bills to GEICO for MRI scans purportedly performed on the
              cervical and lumbar spines of SH and MH April 7, 2021.

      (vi)    On March 30, 2021, two Insureds – OK and DL – were involved in the same
              automobile accident. OK and DL were different ages, in different physical condition,
              and experienced the impact from different positions in the vehicle. To the extent that
              they suffered any injuries at all in the accident, their injuries were different and
              resolved at different rates. They did not require substantially identical MRIs on or
              about the same date after the accident. Even so, New York Medical, Qureshi, and
              Imam submitted bills to GEICO for MRI scans purportedly performed on the cervical
              and lumbar spines of OK and DL on April 23, 2021, and again on May 3, 2021.

      (vii)   On May 22, 2021, two Insureds – JG and WG – were involved in the same
              automobile accident. JG and WG were different ages, in different physical condition,
              and experienced the impact from different positions in the vehicle. To the extent that
              they suffered any injuries at all in the accident, their injuries were different and
              resolved at different rates. They did not require substantially identical MRIs on or
              about the same date after their accident. Even so, Star Medical, Qureshi, Solomon,
              and Imam submitted bills to GEICO for MRI scans purportedly performed on the
              cervical and lumbar spines of JG and WG on June 25, 2021.




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      (viii)   On July 27, 2021, two Insureds – SA and SF – were involved in the same automobile
               accident. SA and SF were different ages, in different physical condition, and
               experienced the impact from different positions in the vehicle. To the extent that they
               suffered any injuries at all in the accident, their injuries were different and resolved
               at different rates. They did not require substantially identical MRIs on or about the
               same date after their accident. Even so, Star Medical, Qureshi, and Solomon
               submitted bills to GEICO for MRI scans purportedly performed on the cervical and
               lumbar spines of SA and SF on October 19, 2021.

      (ix)     On November 1, 2021, two Insureds – GC and MR – were involved in the same
               automobile accident. GC and MR were different ages, in different physical condition,
               and experienced the impact from different positions in the vehicle. To the extent that
               they suffered any injuries at all in the accident, their injuries were different and
               resolved at different rates. They did not require substantially identical MRIs on or
               about the same date after their accident. Even so, Star Medical, Qureshi, and
               Solomon submitted bills to GEICO for MRI scans purportedly performed on the
               cervical and lumbar spines of GC and MR at Star Medical on February 3, 2022.

      (x)      On November 5, 2021, two Insureds – BG and JT – were involved in the same
               automobile accident. BG and JT were different ages, in different physical condition,
               and experienced the impact from different positions in the vehicle. To the extent that
               they suffered any injuries at all in the accident, their injuries were different and
               resolved at different rates. They did not require substantially identical MRIs on or
               about the same date after the accident. Even so, New York Medical, Qureshi, and
               Solomon submitted bills to GEICO for MRI scans purportedly performed on the
               cervical and lumbar spines of BG on December 6, 2021, and JT on December 16,
               2021.

      (xi)     On February 6, 2022, three Insureds – CM, MS, and AT – were involved in the same
               automobile accident. CM, MS, and AT were different ages, in different physical
               condition, and experienced the impact from different positions in the vehicle. To the
               extent that they suffered any injuries at all in the accident, their injuries were different
               and resolved at different rates. They did not require substantially identical MRIs on
               or about the same date after their accident. Even so, Star Medical, Qureshi, and
               Solomon submitted bills to GEICO for MRI scans purportedly performed on the
               cervical and lumbar spines of CM, MS, and AT at Star Medical on March 7, 2022.

      (xii)    On April 3, 2022, four Insureds – TB, MJ, TM, and JP – were involved in the same
               automobile accident. TB, MJ, TM, and JP were different ages, in different physical
               condition, and experienced the impact from different positions in the vehicle. To the
               extent that they suffered any injuries at all in the accident, their injuries were different
               and resolved at different rates. They did not require substantially identical MRIs on
               or about the same date after their accident. Even so, Star Medical, Qureshi, and
               Solomon submitted bills to GEICO for MRI scans purportedly performed on the
               cervical and lumbar spines of JP on May 3, 2022; TB on May 5, 2022; TM on May
               6, 2022; and MJ on June 1, 2022.

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      (xiii)   On July 14, 2022, two Insureds – JD and ND – were involved in the same automobile
               accident. JD and ND were different ages, in different physical condition, and
               experienced the impact from different positions in the vehicle. To the extent that they
               suffered any injuries at all in the accident, their injuries were different and resolved
               at different rates. They did not require substantially identical MRIs on or about the
               same date after their accident. Even so, Star Medical, Qureshi, and Solomon
               submitted bills to GEICO for MRI scans purportedly performed on the cervical and
               lumbar spines of JD and ND on August 22, 2022.

      (xiv)    On July 24, 2022, three Insureds – AB, HL, and HY – were involved in the same
               automobile accident. AB, HL, and HY were different ages, in different physical
               condition, and experienced the impact from different positions in the vehicle. To the
               extent that they suffered any injuries at all in the accident, their injuries were different
               and resolved at different rates. They did not require substantially identical MRIs on
               or about the same date after the accident. Even so, New York Medical, Qureshi, and
               Solomon submitted bills to GEICO for MRI scans purportedly performed on the
               cervical and lumbar spines of HL and HY on August 25, 2022, and AB on September
               2, 2022.

      (xv)     On December 4, 2022, two Insureds – ND and AP – were involved in the same
               automobile accident. ND and AP were different ages, in different physical condition,
               and experienced the impact from different positions in the vehicle. To the extent that
               they suffered any injuries at all in the accident, their injuries were different and
               resolved at different rates. They did not require substantially identical MRIs on or
               about the same date after the accident. Even so, Star Medical, Qureshi, and Solomon
               submitted bills to GEICO for MRI scans purportedly performed on the cervical and
               lumbar spines of ND and AP on February 28, 2023.

      (xvi)    On March 10, 2023, two Insureds – JL and OM – were involved in the same
               automobile accident. JL and OM were different ages, in different physical condition,
               and experienced the impact from different positions in the vehicle. To the extent that
               they suffered any injuries at all in the accident, their injuries were different and
               resolved at different rates. They did not require substantially identical MRIs on or
               about the same date after the accident. Even so, New York Medical, Qureshi,
               Solomon, and Imam submitted bills to GEICO for MRI scans purportedly performed
               on the lumbar and cervical spines of JL and OM on April 28, 2023.

      (xvii) On July 11, 2023, two Insureds – AT and KT – were involved in the same automobile
             accident. AT and KT were different ages, in different physical condition, and
             experienced the impact from different positions in the vehicle. To the extent that they
             suffered any injuries at all in the accident, their injuries were different and resolved
             at different rates. They did not require substantially identical MRIs on or about the
             same date after the accident. Even so, New York Medical, Qureshi, Solomon, and
             Imam submitted bills to GEICO for MRI scans purportedly performed on the lumbar
             and cervical spines of AT and KT on August 9, 2023.

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       (xviii) On July 24, 2023, three Insureds – RC, TS, and TS – were involved in the same
               automobile accident. RC, TS, and TS were different ages, in different physical
               condition, and experienced the impact from different positions in the vehicle. To the
               extent that they suffered any injuries at all in the accident, their injuries were different
               and resolved at different rates. They did not require substantially identical MRIs on
               or about the same date after their accident. Even so, Star Medical, Qureshi, and
               Solomon submitted bills to GEICO for MRI scans purportedly performed on the
               cervical and lumbar spines of RC, TS, and TS at Star Medical on August 26, 2023.

       (xix)   On July 26, 2023, two Insureds – AL and ER – were involved in the same automobile
               accident. AL and ER were different ages, in different physical condition, and
               experienced the impact from different positions in the vehicle. To the extent that they
               suffered any injuries at all in the accident, their injuries were different and resolved
               at different rates. They did not require substantially identical MRIs on or about the
               same date after the accident. Even so, New York Medical, Qureshi, and Solomon
               submitted bills to GEICO for MRI scans purportedly performed on the lumbar and
               cervical spines of AL and ER on September 13, 2023.

       (xx)    On September 21, 2023, two Insureds – ES and JS – were involved in the same
               automobile accident. ES and JS were different ages, in different physical condition,
               and experienced the impact from different positions in the vehicle. To the extent that
               they suffered any injuries at all in the accident, their injuries were different and
               resolved at different rates. They did not require substantially identical MRIs on or
               about the same date after the accident. Even so, New York Medical, Qureshi, and
               Imam submitted bills to GEICO for MRI scans purportedly performed on the lumbar
               and cervical spines of JS on November 1, 2023, and ES on November 7, 2023.

       94.     These are only representative examples. In the claims identified in Exhibits “1” and

“2”, the Defendants routinely purported to provide substantially identical, medically unnecessary

MRIs on or about the same date to two or more Insureds who had been involved in the same

accident, despite the fact that the Insureds were differently situated and did not require the MRIs.

       95.     What is more, in a legitimate clinical setting, when properly performed, the MRIs

that the Defendants purported to perform and/or provide – typically between 2-4 MRIs per Insured,

per date of service, including cervical MRIs, lumbar/thoracic MRIs, shoulder MRIs, and/or knee

MRIs – would require the patient to remain still for at least more than an hour.




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       96.     However, in the claims for multiple MRIs, per Insured, per date of service that are

identified in Exhibits “1” and “2”, the Defendants did not require the Insureds to remain still for

the requisite periods of time so that the MRIs could be legitimately and properly performed.

Instead, the Defendants provided their MRIs – to the extent they provided them at all – in an

abbreviated, rushed, and assembly-line manner designed to generate as much PIP billing as

possible each day, rather than to actually diagnose or treat the Insureds. As a result, the Defendants’

MRI studies were performed below the standard of care, typically resulting in false or exaggerated

“findings” as set forth herein, and were medically unnecessary.

       97.     In the claims identified in Exhibits “1” and “2”, the Defendants routinely falsely

represented that the underlying MRIs were medically necessary, lawfully provided, and eligible

for PIP reimbursement in the first instance.

       98.     In fact, the MRIs were neither medically necessary nor lawfully provided. Instead,

the MRIs were provided – to the extent they were provided at all – pursuant to a pre-determined

protocol designed to maximize the billing the Defendants could submit through Star Medical and

New York Medical to GEICO and other insurers, and pursuant to the Defendants’ unlawful referral

scheme, not to treat or otherwise benefit the Insureds who were subjected to it.

       99.     In the claims identified in Exhibits “1” and “2”, the Defendants routinely purported

to provide medically unnecessary MRIs to Insureds as unlawful compensation to their referral

sources, in order to generate a steady stream of medically unwarranted referrals to Star Medical

and New York Medical.

       100.    Not only did the Defendants routinely bill for medically unnecessary MRIs, but

they also routinely misrepresented the purported “results” of the MRIs, in order to make it appear




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as if the Insureds had suffered from serious injuries as the result of their automobile accidents,

when in fact they had not.

        101.    The Defendants issued these false and exaggerated “findings” in order to create the

appearance of serious injuries where none actually existed, so as to compensate their referral

sources for their referrals to Star Medical and New York Medical for medically unnecessary MRIs.

        102.    It is improbable – to the point of impossibility – that a large cohort of patients who

were involved in relatively minor accidents not only would suffer disc bulges or herniations as the

result of the minor accidents, but would suffer numerous disc bulges or herniations at multiple

levels of their spines.

        103.    Even so, in the claims identified in Exhibits “1” and “2”, the Defendants routinely

falsely represented that the Insureds suffered numerous disc bulges and herniations at multiple

levels of their spines as the result of minor automobile accidents that could not legitimately have

caused the Insureds to suffer those injuries.

        104.    For example:

        (i)     On August 19, 2019, an Insured named JC was involved in an automobile accident.
                The contemporaneous police report indicated that JC’s vehicle was drivable
                following the accident. The police report further indicated that JC was not injured as
                a result of the accident. In keeping with the fact that JC was not seriously injured, JC
                did not visit any hospital emergency room following the accident. To the extent that
                JC experienced any health issues at all as a result of the accident, they were minor
                soft tissue injuries that did not require MRIs, especially before JC had failed a
                course of conservative treatment, and did not include any disc bulges or herniations,
                much less multiple disc bulges or herniations. Even so, after purportedly
                performing an MRI of JC’s lumbar spine at New York Medical on March 13, 2020,
                New York Medical, Qureshi, and Imam falsely reported that JC had multiple disc
                herniations at the L4-L5 and L5-S1 levels of his spine.

        (ii)    On November 5, 2019, an Insured named NB was involved in an automobile
                accident. The contemporaneous police report indicated that NB’s vehicle was
                drivable following the accident. The police report further indicated that NB was not
                injured as a result of the accident. In keeping with the fact that NB was not seriously
                injured, NB did not visit any hospital emergency room following the accident. To

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              the extent that NB experienced any health issues at all as a result of the accident,
              they were minor soft tissue injuries that did not require MRIs, especially before NB
              had failed a course of conservative treatment, and did not include any disc bulges
              or herniations, much less multiple disc bulges or herniations. Even so, after
              purportedly performing an MRI of NB’s lumbar spine and cervical spine at New
              York Medical on January 25, 2020, New York Medical, Qureshi, and Imam falsely
              reported that NB had multiple disc herniations of the C3-C4, C4-C5, C5-C6, L3-
              L4, L4-L5, and L5-S1 levels of her spine.

      (iii)   On November 13, 2019, an Insured named SB was involved in an automobile
              accident. The contemporaneous police report indicated that SB’s vehicle was
              drivable following the accident. The police report further indicated that SB refused
              medical attention. In keeping with the fact that SB was not seriously injured, SB did
              not visit any hospital emergency room following the accident. To the extent that
              SB experienced any health issues at all as a result of the accident, they were minor
              soft tissue injuries that did not require MRIs, especially before SB had failed a
              course of conservative treatment, and did not include any disc bulges or herniations,
              much less multiple disc bulges or herniations. Even so, after purportedly
              performing an MRI of SB’s lumbar spine and cervical spine at New York Medical
              on December 17, 2019, New York Medical, Qureshi, and Imam falsely reported
              that SB had multiple disc herniations at that C3-C4, C4-C5, C5-C6, L4-L5, and L5-
              S1 levels of her spine.

      (iv)    On July 2, 2020, an Insured named DH was involved in an automobile accident. The
              contemporaneous police report indicated that DH’s vehicle was drivable following
              the accident. The police report further indicated that DH was not injured as a result
              of the accident. In keeping with the fact that DH not seriously injured, DH did not
              visit any hospital emergency room following the accident. To the extent that DH
              experienced any health issues at all as a result of the accident, they were minor soft
              tissue injuries that did not require MRIs, especially before DH had failed a course
              of conservative treatment, and did not include any disc bulges or herniations, much
              less multiple disc bulges or herniations. Even so, after purportedly performing an
              MRI of DH’s lumbar spine and cervical spine at New York Medical on August 10,
              2020, New York Medical, Qureshi, and Imam falsely reported that DH had multiple
              disc herniations at the C3-C4, C4-C5, C5-C6, C6-C7, C7-T1, L3-L4, L4-L5, and
              L5-S1 levels of his spine.

      (v)     On August 26, 2020, an Insured named QA was involved in an automobile accident.
              The contemporaneous police report indicated that QA’s vehicle was drivable
              following the accident. The contemporaneous hospital records indicated that QA was
              treated on an outpatient basis and discharged the same day with no serious injury
              diagnosis. To the extent that QA experienced any health issues at all as a result of
              the accident, they were minor soft tissue injuries that did not require MRIs,
              especially before QA had failed a course of conservative treatment, and did not
              include any disc bulges or herniations, much less multiple disc bulges or
              herniations. Even so, after purportedly performing an MRI of QA’s cervical spine

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               and lumbar spine at New York Medical on October 16, 2020, New York Medical,
               Qureshi, and Imam falsely reported that QA had multiple disc herniations at the
               C3-C4, C4-C5, C5-C6, C6-C7, L4-L5, and L5-S1 levels of her spine.

      (vi)     On September 5, 2020, an Insured named LT was involved in an automobile
               accident. The contemporaneous police report indicated that LT’s vehicle was
               drivable following the accident. The police report further indicated that LT was not
               injured as a result of the accident. In keeping with the fact that LT was not seriously
               injured, LT did not visit any hospital emergency room following the accident. To
               the extent that LT experienced any health issues at all as a result of the accident,
               they were minor soft tissue injuries that did not require MRIs, especially before LT
               had failed a course of conservative treatment, and did not include any disc bulges
               or herniations, much less multiple disc bulges or herniations. Even so, after
               purportedly performing an MRI of LT’s lumbar spine and cervical spine at New
               York Medical on November 2, 2020, New York Medical, Qureshi, and Imam
               falsely reported that LT had multiple disc herniations of the C3-C4, C4-C5, C5-C6,
               L3-L4, L4-L5, and L5-S1 levels of her spine.

      (vii)    On September 15, 2020, an Insured named SP was involved in an automobile
               accident. The contemporaneous police report indicated that SP’s vehicle was
               drivable following the accident. The contemporaneous hospital records indicated
               that SP was treated on an outpatient basis and discharged the same day after
               receiving a sprained wrist diagnosis. To the extent that SP experienced any health
               issues at all as a result of the accident, they were minor soft tissue injuries that did
               not require MRIs, especially before SP had failed a course of conservative
               treatment, and did not include any disc bulges or herniations, much less multiple
               disc bulges or herniations. Even so, after purportedly performing an MRI of SP’s
               lumbar spine at New York Medical on November 2, 2020, New York Medical,
               Qureshi, and Imam falsely reported that SP had multiple disc herniations at the L3-
               L4, L4-L5, and L5-S1 levels of her spine.

      (viii)   On October 5, 2021, an Insured named JS was involved in an automobile accident.
               The contemporaneous police report indicated that JS’s vehicle was drivable
               following the accident. The police report further indicated that JS was not injured as
               a result of the accident. In keeping with the fact that JS was not seriously injured, JS
               did not visit any hospital emergency room following the accident. To the extent that
               JS experienced any health issues at all as a result of the accident, they were minor
               soft tissue injuries that did not require MRIs, especially before JS had failed a
               course of conservative treatment, and did not include any disc bulges or herniations,
               much less multiple disc bulges or herniations. Even so, after purportedly
               performing an MRI of JS’s cervical spine and lumbar spine at Star Medical on
               November 16, 2021, Star Medical, Qureshi, and Solomon falsely reported that JS
               had multiple disc herniations at the C3-C4, C4-C5, C5-C6, C6-C7, and L5-S1 levels
               of his spine.




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      (ix)    On November 18, 2021, an Insured named WG was involved in an automobile
              accident. The contemporaneous police report indicated that WG was not injured as a
              result of the accident. The police report further indicated that WG was not transported
              to any hospital emergency department as a result of the accident. To the extent that
              WG experienced any health issues at all as a result of the accident, they were minor
              soft tissue injuries that did not require MRIs, especially before WG had failed a
              course of conservative treatment, and did not include any disc bulges or herniations,
              much less multiple disc bulges or herniations. Even so, after purportedly
              performing an MRI of WG’s cervical spine and lumbar spine at Star Medical on
              December 22, 2021, Star Medical, Qureshi, and Solomon falsely reported that WG
              had multiple disc herniations at the C3-C4, C4-C5, C5-C6, C6-C7, and L5-S1 levels
              of his spine.

      (x)     On November 18, 2021, an Insured named MH was involved in an automobile
              accident. The contemporaneous police report indicated that MH was not injured as a
              result of the accident. The police report further indicated that MH was not transported
              to any hospital emergency department as a result of the accident. To the extent that
              MH experienced any health issues at all as a result of the accident, they were minor
              soft tissue injuries that did not require MRIs, especially before MH had failed a
              course of conservative treatment, and did not include any disc bulges or herniations,
              much less multiple disc bulges or herniations. Even so, after purportedly
              performing an MRI of MH’s cervical spine and lumbar spine at Star Medical on
              December 22, 2021, Star Medical, Qureshi, and Solomon falsely reported that MH
              had multiple disc herniations at the C3-C4, C4-C5, C5-C6, C6-C7, L2-L3, L3-L4,
              L4-L5, and L5-S1 levels of his spine.

      (xi)    On November 28, 2021, an Insured named BB was involved in an automobile
              accident. The contemporaneous police report indicated that BB was not injured as
              a result of the accident. The police report further indicated that BB was not
              transported to any hospital emergency department following the accident. To the
              extent that BB experienced any health issues at all as a result of the accident, they
              were minor soft tissue injuries that did not require MRIs, especially before BB had
              failed a course of conservative treatment, and did not include any disc bulges or
              herniations, much less multiple disc bulges or herniations. Even so, after
              purportedly performing an MRI of BB’s cervical spine and lumbar spine at Star
              Medical on January 15, 2022, Star Medical, Qureshi, and Solomon falsely reported
              that BB had multiple disc herniations at the C3-C4, C4-C5, C5-C6, C6-C7, L3-L4,
              and L4-L5 levels of his spine.

      (xii)   On November 28, 2021, an Insured named SA was involved in an automobile
              accident. The contemporaneous police report indicated that SA was not transported
              to any hospital emergency department following the accident. To the extent that SA
              experienced any health issues at all as a result of the accident, they were minor soft
              tissue injuries that did not require MRIs, especially before SA had failed a course
              of conservative treatment, and did not include any disc bulges or herniations, much
              less multiple disc bulges or herniations. Even so, after purportedly performing an

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               MRI of SA’s cervical spine and lumbar spine at Star Medical on January 15, 2022,
               Star Medical, Qureshi, and Solomon falsely reported that SA had multiple disc
               herniations at the C5-C6 and L5-S1 levels of her spine.

      (xiii)   On January 22, 2022, an Insured named PC was involved in an automobile accident.
               The contemporaneous police report indicated that PC’s vehicle was drivable
               following the accident. The contemporaneous hospital records indicated that PC
               was treated on an outpatient basis and discharged the same day with no serious
               injury diagnosis. To the extent that PC experienced any health issues at all as a result
               of the accident, they were minor soft tissue injuries that did not require MRIs,
               especially before PC had failed a course of conservative treatment, and did not
               include any disc bulges or herniations, much less multiple disc bulges or
               herniations. Even so, after purportedly performing an MRI of PC’s cervical spine
               and lumbar spine at Star Medical on March 22, 2022, Star Medical, Qureshi, and
               Solomon falsely reported that PC had multiple disc herniations at the C2-C3 and
               C6-C7 levels of his spine.

      (xiv)    On March 15, 2023, an Insured named JT was involved in an automobile accident.
               The contemporaneous hospital records indicated that JT was treated on an
               outpatient basis and discharged the same day with no serious injury diagnosis. To
               the extent that JT experienced any health issues at all as a result of the accident,
               they were minor soft tissue injuries that did not require MRIs, especially before JT
               had failed a course of conservative treatment, and did not include any disc bulges
               or herniations, much less multiple disc bulges or herniations. Even so, after
               purportedly performing an MRI of JT’s lumbar spine and cervical spine at New
               York Medical on April 29, 2023, New York Medical, Qureshi, and Solomon falsely
               reported that JT had multiple disc herniations at the C3-C4, C4-C5, C5-C6, L3-L4,
               and L4-L5 levels of her spine.

      (xv)     On May 12, 2023, an Insured named WF was involved in an automobile accident.
               The contemporaneous police report indicated that WFs vehicle was drivable
               following the accident. The contemporaneous hospital records indicated that WF was
               treated on an outpatient basis and discharged the same day after receiving a minor
               soft tissue injury diagnosis. To the extent that WF experienced any health issues at
               all as a result of the accident, they were minor soft tissue injuries that did not require
               MRIs, especially before WF had failed a course of conservative treatment, and did
               not include any disc bulges or herniations, much less multiple disc bulges or
               herniations. Even so, after purportedly performing an MRI of WF’s cervical spine
               and lumbar spine at Star Medical on June 13, 2023, Star Medical, Qureshi, and
               Solomon falsely reported that WF had multiple disc herniations at the C3-C4, C4-
               C5, C5-C6, C6-C7, L3-L4, L4-L5, and L5-S1 levels of her spine.

      (xvi)    On May 13, 2023, an Insured named DJ was involved in an automobile accident. The
               police report indicated that DJ’s vehicle was drivable following the accident. The
               police report further indicated that DJ was not injured as a result of the accident. In
               keeping with the fact that DJ was not seriously injured, DJ did not visit any hospital

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              emergency room following the accident. To the extent that DJ experienced any
              health issues at all as a result of the accident, they were minor soft tissue injuries
              that did not require MRIs, especially before DJ had failed a course of conservative
              treatment, and did not include any disc bulges or herniations, much less multiple
              disc bulges or herniations. Even so, after purportedly performing an MRI of DJ’s
              cervical spine and lumbar spine at Star Medical on July 28, 2023, Star Medical,
              Qureshi, and Solomon falsely reported that DJ had multiple disc herniations at the
              L4-L5 and L5-S1 levels of his spine.

      (xvii) On July 18, 2023, an Insured named YL was involved in an automobile accident.
             The contemporaneous police report indicated that YL’s vehicle was drivable
             following the accident. The police report further indicated that YL refused medical
             attention a the scene. In keeping with the fact that YL was not seriously injured, YL
             did not visit any hospital emergency room following the accident. To the extent that
             YL experienced any health issues at all as a result of the accident, they were minor
             soft tissue injuries that did not require MRIs, especially before YL had failed a
             course of conservative treatment, and did not include any disc bulges or herniations,
             much less multiple disc bulges or herniations. Even so, after purportedly
             performing an MRI of YL’s lumbar spine and cervical spine at New York Medical
             on August 27, 2023, New York Medical, Qureshi, and Solomon falsely reported
             that YL had multiple disc herniations at the C5-C6 and C6-C7 levels of her spine.

      (xviii) On July 23, 2023, an Insured named AC was involved in an automobile accident.
              The contemporaneous police report indicated that AC was not injured as a result of
              the accident. The police report further indicated that AC was not transported to any
              hospital emergency department following the accident. To the extent that AC
              experienced any health issues at all as a result of the accident, they were minor soft
              tissue injuries that did not require MRIs, especially before AC had failed a course
              of conservative treatment, and did not include any disc bulges or herniations, much
              less multiple disc bulges or herniations. Even so, after purportedly performing an
              MRI of AC’s lumbar spine and cervical spine at New York Medical on August 28,
              2023, New York Medical, Qureshi, and Solomon falsely reported that AC had
              multiple disc herniations at the C3-C4 and C4-C5 levels of his spine.

      (xix)   On October 30, 2023, an Insured named SK was involved in an automobile
              accident. The contemporaneous police report indicated that SK’s vehicle was
              drivable following the accident. The police report further indicated that SK was not
              injured as a result of the accident. In keeping with the fact that SK was not seriously
              injured, SK did not visit any hospital emergency room following the accident. To
              the extent that SK experienced any health issues at all as a result of the accident,
              they were minor soft tissue injuries that did not require MRIs, especially before SK
              had failed a course of conservative treatment, and did not include any disc bulges
              or herniations, much less multiple disc bulges or herniations. Even so, after
              purportedly performing an MRI of SK’s cervical spine and lumbar spine at Star
              Medical on November 30, 2023, Star Medical, Qureshi, and Solomon falsely



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               reported that SK had multiple disc herniations at the C3-C4, C4-C5, C5-C6, C6-
               C7, and L5-S1 levels of her spine.

       (xx)    On November 15, 2023, an Insured named AM was involved in an automobile
               accident. The contemporaneous police report indicated that AM had complaints of
               shoulder at the scene but was not transported to any hospital emergency department
               following the accident. To the extent that AM experienced any health issues at all as
               a result of the accident, they were minor soft tissue injuries that did not require
               MRIs, especially before AM had failed a course of conservative treatment, and did
               not include any disc bulges or herniations, much less multiple disc bulges or
               herniations. Even so, after purportedly performing an MRI of AM’s cervical spine
               and lumbar spine at Star Medical on December 21, 2023, Star Medical, Qureshi,
               and Solomon falsely reported that AM had multiple disc herniations at the C3-C4,
               C4-C5, C5-C6, and C6-C7 levels of her spine.

       105.    These are only representative examples. In the claims identified in Exhibits “1” and

“2”, the Defendants routinely falsely represented that the Insureds suffered extensive disc bulges

and herniations, often at multiple levels of their spines, as the result of minor accidents that could

not legitimately have caused the herniations.

       106.    The Defendants issued these false and exaggerated “findings” in order to create the

appearance of serious injuries where none actually existed, as compensation to their referral

sources to ensure a steady stream of referrals to Star Medical and New York Medical for medically

unnecessary MRIs.

       107.    In addition to falsely reporting disc herniations, the Defendants frequently

represented that, as a result of their accidents, the Insureds in the claims identified in Exhibits “1”

and “2” suffered from disc bulges that were compressing or indenting their thecal sacs.

       108.    A disc bulge is when a spinal disc appears symmetrical, but there is a small

outpouching or protrusion of the disc with no significant herniation.

       109.    Disc bulges are extremely common, to the point where many adults have a disc

bulge at one or more spinal levels without experiencing any symptoms.




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        110.    There are a number of factors that can cause bulging discs, including – most

commonly – the ordinary degenerative changes attendant to aging.

        111.    However, it is improbable that a bulging disc actually would be caused by a

relatively minor automobile accident.

        112.    It is even more improbable that a minor accident actually would cause a patient to

suffer from numerous bulging discs at multiple levels of his or her spine.

        113.    It is even more improbable – to the point of impossibility – that this legitimately

would occur over and over again with great frequency within the cohort of patients being treated

at Star Medical and New York Medical.

        114.    Even so, in order to create the false appearance that the Insureds in the claims

identified in Exhibit “1” and “2” suffered from serious injuries as the result of their typically-minor

accidents, and thereby unlawfully compensate their referral sources for medically unnecessary

referrals, the Defendants routinely falsely represented that the insureds suffered from multiple disc

bulges as a result of their accidents.

        115.    What is more, in order to create the false appearance that the purported disc bulges

represented a serious condition, the Defendants routinely indicated that virtually every disc bulge

was compressing the Insureds’ thecal sacs.

        116.    Similarly, in the many instances in which the Defendants falsely represented that

the Insureds suffered disc herniations as the result of their accidents, the Defendants likewise

routinely indicated that the purported disc herniations were compressing the Insureds’ thecal sacs.

        117.    There was no legitimate reason for the Defendants to report that the Insureds’

purported disc bulges or herniations were compressing the Insureds’ thecal sacs. Thecal sac

“compression” or “indentation” has no clinical significance. These thecal sac “findings” played no



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role in the diagnoses or treatment of the Insureds and were inserted by the Defendants into their

MRI reports solely in order to create the false appearance that the Insureds suffered from serious

injuries warranting extensive treatment, when in fact they had not.

        118.    In the claims in Exhibits “1” and “2” that involved MRI scans of the Insureds’

cervical spines and/or lumbar spines, the Defendants’ reports routinely contained exaggerated

and/or false interpretations, as well as clinically insignificant “findings”, in order to create the false

appearance that the Insureds had suffered serious injuries in their accidents, when in fact they had

not.

        119.    In actuality, and as set forth above, the Insureds’ typically minor accidents could

not possibly have caused them to suffer bulging or herniated discs at the rate identified by the

Defendants.

III.    The Fraudulent Claims the Defendants Submitted or Caused to be Submitted to
        GEICO

        120.    To support their fraudulent charges, the Defendants systematically submitted or

caused to be submitted thousands of NF-3 forms/bills and diagnostic imaging reports through Star

Medical and New York Medical to GEICO in New York, containing thousands of individual

charges, seeking payment for the Fraudulent Services for which the Defendants were not entitled

to receive payment.

        121.    As described above, the NF-3 forms and treatment reports were false and

misleading, and in violation of the Insurance Fraud Prevention Act, in the following material

respects:

        (i)     The bills and treatment reports submitted or caused to be submitted by the
                Defendants uniformly misrepresented to GEICO that the Defendants were in
                compliance with all significant statutory and regulatory requirements governing
                health care practice and licensing laws, and therefore were eligible to receive PIP
                reimbursement. In fact, for the reasons set forth herein, the Defendants were not in

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               compliance with all significant statutory and regulatory requirements governing
               health care practice in New York and/or licensing laws, and therefore were not
               eligible to receive PIP reimbursement.

       (ii)    The bills and treatment reports submitted or caused to be submitted by the
               Defendants uniformly misrepresented to GEICO that the Fraudulent Services were
               provided in compliance with all significant statutory and regulatory requirements
               governing health care practice in New York and/or licensing laws, and therefore
               were eligible for PIP reimbursement. In fact, for the reasons set forth herein, the
               Fraudulent Services were not provided in compliance with all significant statutory
               and regulatory requirements governing health care practice in New York and/or
               licensing laws, and therefore were not eligible for PIP reimbursement.

       (iii)   The bills and treatment reports submitted or caused to be submitted by the
               Defendants uniformly misrepresented to GEICO that the Fraudulent Services were
               medically necessary and, in many cases, misrepresented to GEICO that the
               Fraudulent Services actually were performed in the first instance. In fact, the
               Fraudulent Services frequently were not legitimately performed at all and, to the
               extent that they were performed, they were not medically necessary and were
               performed as part of a pre–determined fraudulent treatment, and billing protocol
               designed solely to financially enrich the Defendants, not to benefit the Insureds who
               supposedly were subjected to it.

       (iv)    The bills and treatment reports submitted or caused to be submitted by the
               Defendants misrepresented and exaggerated the level of the Fraudulent Services,
               the nature of the Fraudulent Services that purportedly were provided, the results of
               the Fraudulent Services, and the reimbursable amounts for the Fraudulent Services.

       (v)     The bills and treatment reports submitted or caused to be submitted by the
               Defendants often falsely represented that Star Medical and New York Medical were
               entitled to PIP reimbursement for the Fraudulent Services, when in fact they were
               not because the Fraudulent Services had been performed – to the extent that they
               were performed at all – by independent contractors.

IV.    The Defendants’ Fraudulent Concealment and GEICO’s Justifiable Reliance

       122.    The Defendants were legally and ethically obligated to act honestly and with

integrity in connection with their performance of the Fraudulent Services and their submission of

charges to GEICO.




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       123.    To induce GEICO to promptly pay the fraudulent charges for the Fraudulent

Services, the Defendants have systemically concealed their fraud and have gone to great lengths

to accomplish this concealment.

       124.    For instance, the Defendants knowingly misrepresented and concealed facts related

to the Fraudulent Services in an effort to prevent discovery that the Fraudulent Services were being

provided at Star Medical and New York Medical – to the extent that they were provided at all –

pursuant to the Defendants’ pre-determined fraudulent protocols designed to maximize the charges

that could be submitted, not to benefit the Insureds who supposedly were subjected to them.

       125.    Moreover, the Defendants knowingly misrepresented and concealed facts in order

to prevent GEICO from discovering that the Fraudulent Services frequently never were

legitimately performed in the first instance.

       126.    In addition, the Defendants knowingly misrepresented and concealed facts in order

to prevent GEICO from discovering that the Fraudulent Services were performed, to the extent

that they were performed at all, by independent contractors.

       127.    GEICO is under statutory and contractual obligations to promptly and fairly process

claims. The facially valid documents submitted to GEICO in support of the fraudulent charges at

issue, combined with the material misrepresentations and omissions described above, were

designed to and did cause GEICO to rely upon them. As a result, GEICO has incurred damages of

more than $9,500,000.00.

       128.    Based upon the Defendants’ material misrepresentations, omissions, and other

affirmative acts to conceal their fraud from GEICO, GEICO did not discover and could not

reasonably have discovered that its damages were attributable to fraud until shortly before it filed

this Complaint.



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                                FIRST CAUSE OF ACTION
                                   Against Star Medical
                    (Declaratory Judgment – 28 U.S.C. §§ 2201 and 2202)

       129.    GEICO incorporates, as though fully set forth herein, each and every allegation in

paragraphs 1-128 above.

       130.    There is an actual case in controversy between GEICO and Star Medical regarding

more than $75,000.00 in unpaid billing for the Fraudulent Services that has been submitted to

GEICO through Star Medical.

       131.    Because of the fraudulent and unlawful scheme described herein, Star Medical is

not entitled to receive payment on the outstanding billing it has submitted to GEICO.

       132.    Accordingly, GEICO also requests a judgment pursuant to the Declaratory

Judgment Act, 28 U.S.C. §§ 2201 and 2202, declaring that Star Medical is not entitled to receive

payment on the outstanding billing it has submitted to GEICO.

                                SECOND CAUSE OF ACTION
                             Against Qureshi, Solomon, and Imam
                            (Violation of RICO, 18 U.S.C. § 1962(c))

       133.    GEICO incorporates, as though fully set forth herein, each and every allegation in

paragraphs 1-128 above.

       134.    Star Medical is an ongoing “enterprise,” as that term is defined in 18 U.S.C. §

1961(4), that engages in activities that affect interstate commerce.

       135.    Qureshi, Solomon, and Imam knowingly conducted and/or participated, directly or

indirectly, in the conduct of Star Medical’s affairs through a pattern of racketeering activity

consisting of repeated violations of the federal mail fraud statute, 18 U.S.C. § 1341, based upon

the use of the United States mails to submit or cause to be submitted thousands of fraudulent

charges on a continuous basis for over three years seeking payments that Star Medical was not



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eligible to receive under the no-fault insurance laws because: (i) the billed-for-services were not

medically necessary; (ii) the billed-for-services were performed and billed pursuant to a pre-

determined, fraudulent treatment and billing protocol designed solely to enrich the Defendants;

(iii) the billed-for-services, in many cases, were not legitimately performed at all; (iv) the billed-

for services were provided – to the extent that they were provided at all – by independent

contractors, rather than by Star Medical’s employees; and (vi) neither Star Medical nor the

underlying services were in compliance with relevant laws and regulations regarding health care

practice, including licensing laws.

       136.    A representative sample of the fraudulent bills and corresponding mailings

submitted to GEICO that comprise, in part, the pattern of racketeering activity identified through

the date of this Complaint are described, in part, in the chart annexed hereto as Exhibit “1”.

       137.    Star Medical’s business is racketeering activity, inasmuch as the enterprise exists

for the purpose of submitting fraudulent charges to insurers. The predicate acts of mail fraud are

the regular way in which Qureshi, Solomon, and Imam operated Star Medical, inasmuch as Star

Medical was not engaged in a legitimate health care practice and acts of mail fraud therefore were

essential in order for Star Medical to function. Furthermore, the intricate planning required to carry

out and conceal the predicate acts of mail fraud implies a threat of continued criminal activity, as

does the fact that Star Medical continues to attempt collection on the fraudulent billing submitted

through Star Medical to the present day.

       138.    Star Medical is engaged in inherently unlawful acts, inasmuch as it continues to

submit and attempt collection on fraudulent billing submitted to GEICO and other insurers. These

inherently unlawful acts are taken by Star Medical in pursuit of inherently unlawful goals –

namely, the theft of money from GEICO and other insurers through fraudulent no-fault billing.



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          139.   GEICO has been injured in its business and property by reason of the above-

described conduct in that it has paid at least $4,190,000.00 pursuant to the fraudulent bills

submitted through the Star Medical enterprise.

          140.   By reason of its injury, GEICO is entitled to treble damages, costs, and reasonable

attorneys’ fees pursuant to 18 U.S.C. § 1964(c), and any other relief the Court deems just and

proper.

                                 THIRD CAUSE OF ACTION
                           Against Qureshi, Solomon, Imam, and Azar
                            (Violation of RICO, 18 U.S.C. § 1962(d))

          141.   GEICO incorporates, as though fully set forth herein, each and every allegation in

paragraphs 1-128 above.

          142.   Star Medical is an ongoing “enterprise,” as that term is defined in 18 U.S.C. §

1961(4), that engages in activities that affect interstate commerce.

          143.   Qureshi, Solomon, Imam, and Azar employed by or associated with the Star

Medical enterprise.

          144.   Qureshi, Solomon, Imam, and Azar knowingly have agreed, combined and

conspired to conduct and/or participate, directly or indirectly, in the conduct of Star Medical’s

affairs through a pattern of racketeering activity consisting of repeated violations of the federal

mail fraud statute, 18 U.S.C. § 1341, based upon the use of the United States mails to submit or

cause to be submitted thousands of fraudulent charges on a continuous basis for over three years

seeking payments that Star Medical was not eligible to receive under the no-fault insurance laws

because: (i) the billed-for-services were not medically necessary; (ii) the billed-for-services were

performed and billed pursuant to a pre-determined, fraudulent treatment and billing protocol

designed solely to enrich the Defendants; (iii) the billed-for-services, in many cases, were not



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legitimately performed at all; (iv) the billed-for services were provided – to the extent that they

were provided at all – by independent contractors, rather than by Star Medical’s employees; and

(vi) neither Star Medical nor the underlying services were in compliance with relevant laws and

regulations regarding health care practice, including licensing laws.

          145.   A representative sample of the fraudulent bills and corresponding mailings

submitted to GEICO that comprise, in part, the pattern of racketeering activity identified through

the date of this Complaint are described, in part, in the chart annexed hereto as Exhibit “1”. Each

such mailing was made in furtherance of the mail fraud scheme.

          146.   Qureshi, Solomon, Imam, and Azar knew of, agreed to and acted in furtherance of

the common and overall objective (i.e., to defraud GEICO and other automobile insurers of money)

by submitting or facilitating the submission of the fraudulent charges to GEICO.

          147.   GEICO has been injured in its business and property by reason of the above-

described conduct in that it has paid at least $4,190,000.00 pursuant to the fraudulent bills

submitted through the Star Medical enterprise.

          148.   By reason of its injury, GEICO is entitled to treble damages, costs, and reasonable

attorneys’ fees pursuant to 18 U.S.C. § 1964(c), and any other relief the Court deems just and

proper.

                               FOURTH CAUSE OF ACTION
                   Against Star Medical, Qureshi, Solomon, Imam, and Azar
                                   (Common Law Fraud)

          149.   GEICO incorporates, as though fully set forth herein, each and every allegation in

paragraphs 1-128 above.

          150.   Star Medical, Qureshi, Solomon, Imam, and Azar intentionally and knowingly

made false and fraudulent statements of material fact to GEICO and concealed material facts from



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GEICO in the course of submitting, or causing to be submitted, thousands of fraudulent charges

through Star Medical for the Fraudulent Services.

          151.   The false and fraudulent statements of material fact and acts of fraudulent

concealment include: (i) the representation that the Fraudulent Services were medically necessary,

when in fact they were not; (ii) the representation that the Fraudulent Services were provided in

the first instance, when in many cases they were not; and (iii) the representation that the Defendants

entitled to receive no-fault reimbursement for the Fraudulent Services, when in fact they were not.

          152.   Star Medical, Qureshi, Solomon, Imam, and Azar intentionally made the above-

described false and fraudulent statements and concealed material facts in a calculated effort to

induce GEICO to pay charges submitted through Star Medical that were not reimbursable.

          153.   GEICO justifiably relied on these false and fraudulent representations and acts of

fraudulent concealment, and as a proximate result has been injured in its business and property by

reason of the above-described conduct in that it has paid at least $4,190,000.00 pursuant to the

fraudulent bills that were submitted or caused to be submitted by Qureshi, Solomon, Imam, and

Azar through Star Medical.

          154.   Star Medical, Qureshi, Solomon, Imam, and Azar’s extensive fraudulent conduct

demonstrates a high degree of moral turpitude and wanton dishonesty that entitles GEICO to

recover punitive damages.

          155.   Accordingly, by virtue of the foregoing, GEICO is entitled to compensatory and

punitive damages, together with interest and costs, and any other relief the Court deems just and

proper.




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                                  FIFTH CAUSE OF ACTION
                         Against Star Medical, Qureshi, Imam, and Azar
                                      (Unjust Enrichment)

       156.    GEICO incorporates, as though fully set forth herein, each and every allegation in

paragraphs 1-128 above.

       157.    As set forth above, Star Medical, Qureshi, Solomon, Imam, and Azar have engaged

in improper, unlawful, and/or unjust acts, all to the harm and detriment of GEICO.

       158.    When GEICO paid the bills and charges submitted or caused to be submitted by

Qureshi, Solomon, Imam, and Azar through Star Medical, it reasonably believed that it was legally

obligated to make such payments based on Star Medical, Qureshi, Solomon, Imam, and Azar’s

improper, unlawful, and/or unjust acts.

       159.    Star Medical, Qureshi, Solomon, Imam, and Azar have been enriched at GEICO’s

expense by GEICO’s payments which constituted a benefit that the Star Medical, Qureshi,

Solomon, Imam, and Azar voluntarily accepted notwithstanding their improper, unlawful, and

unjust billing scheme.

       160.    Star Medical, Qureshi, Solomon, Imam, and Azar’s retention of GEICO’s payments

violated fundamental principles of justice, equality, and good conscience.

       161.    By reason of the above, Star Medical, Qureshi, Solomon, Imam, and Azar have

been unjustly enriched in an amount to be determined at trial, but in no event less than

$4,190,000.00.

                               SIXTH CAUSE OF ACTION
                                 Against New York Medical
                    (Declaratory Judgment – 28 U.S.C. §§ 2201 and 2202)

       162.    GEICO incorporates, as though fully set forth herein, each and every allegation in

paragraphs 1-128 above.



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       163.    There is an actual case in controversy between GEICO and Star Medical regarding

more than $75,000.00 in unpaid billing for the Fraudulent Services that has been submitted to

GEICO through New York Medical.

       164.    Because of the fraudulent and unlawful scheme described herein, New York

Medical is not entitled to receive payment on the outstanding billing it has submitted to GEICO.

       165.    Accordingly, GEICO also requests a judgment pursuant to the Declaratory

Judgment Act, 28 U.S.C. §§ 2201 and 2202, declaring that New York Medical is not entitled to

receive payment on the outstanding billing it has submitted to GEICO.

                               SEVENTH CAUSE OF ACTION
                             Against Qureshi, Solomon, and Imam
                            (Violation of RICO, 18 U.S.C. § 1962(c))

       166.    GEICO incorporates, as though fully set forth herein, each and every allegation in

paragraphs 1-128 above.

       167.    New York Medical is an ongoing “enterprise,” as that term is defined in 18 U.S.C.

§ 1961(4), that engages in activities that affect interstate commerce.

       168.    Qureshi, Solomon, and Imam conducted and/or participated, directly or indirectly,

in the conduct of New York Medical’s affairs through a pattern of racketeering activity consisting

of repeated violations of the federal mail fraud statute, 18 U.S.C. § 1341, based upon the use of

the United States mails to submit or cause to be submitted thousands of fraudulent charges on a

continuous basis for over three years seeking payments that New York Medical was not eligible

to receive under the no-fault insurance laws because: (i) the billed-for-services were not medically

necessary; (ii) the billed-for-services were performed and billed pursuant to a pre-determined,

fraudulent treatment and billing protocol designed solely to enrich the Defendants; (iii) the billed-

for-services, in many cases, were not legitimately performed at all; (iv) the billed-for services were



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provided – to the extent that they were provided at all – by independent contractors, rather than by

New York Medical’s employees; and (vi) neither New York Medical nor the underlying services

were in compliance with relevant laws and regulations regarding health care practice, including

licensing laws.

           169.   A representative sample of the fraudulent bills and corresponding mailings

submitted to GEICO that comprise, in part, the pattern of racketeering activity identified through

the date of this Complaint are described, in part, in the chart annexed hereto as Exhibit “2”.

           170.   New York Medical’s business is racketeering activity, inasmuch as the enterprise

exists for the purpose of submitting fraudulent charges to insurers. The predicate acts of mail fraud

are the regular way in which Qureshi, Solomon, and Imam operated New York Medical, inasmuch

as New York Medical was not engaged in a legitimate health care practice and acts of mail fraud

therefore were essential in order for New York Medical to function. Furthermore, the intricate

planning required to carry out and conceal the predicate acts of mail fraud implies a threat of

continued criminal activity, as does the fact that New York Medical continues to attempt collection

on the fraudulent billing submitted through New York Medical to the present day.

           171.   New York Medical is engaged in inherently unlawful acts, inasmuch as it continues

to submit and attempt collection on fraudulent billing submitted to GEICO and other insurers.

These inherently unlawful acts are taken by New York Medical in pursuit of inherently unlawful

goals – namely, the theft of money from GEICO and other insurers through fraudulent no-fault

billing.

           172.   GEICO has been injured in its business and property by reason of the above-

described conduct in that it has paid at least $5,400,000.00 pursuant to the fraudulent bills

submitted through the New York Medical enterprise.



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          173.   By reason of its injury, GEICO is entitled to treble damages, costs, and reasonable

attorneys’ fees pursuant to 18 U.S.C. § 1964(c), and any other relief the Court deems just and

proper.

                                EIGHTH CAUSE OF ACTION
                           Against Qureshi, Solomon, Imam, and Azar
                            (Violation of RICO, 18 U.S.C. § 1962(d))

          174.   GEICO incorporates, as though fully set forth herein, each and every allegation in

paragraphs 1-128 above.

          175.   New York Medical is an ongoing “enterprise,” as that term is defined in 18 U.S.C.

§ 1961(4), that engages in activities that affect interstate commerce.

          176.   Qureshi, Solomon, Imam, and Azar are employed by or associated with the New

York Medical enterprise.

          177.   Qureshi, Solomon, Imam, and Azar knowingly have agreed, combined and

conspired to conduct and/or participate, directly or indirectly, in the conduct of New York

Medical’s affairs through a pattern of racketeering activity consisting of repeated violations of the

federal mail fraud statute, 18 U.S.C. § 1341, based upon the use of the United States mails to

submit or cause to be submitted thousands of fraudulent charges on a continuous basis for over

three years seeking payments that New York Medical was not eligible to receive under the no-

fault insurance laws because: (i) the billed-for-services were not medically necessary; (ii) the

billed-for-services were performed and billed pursuant to a pre-determined, fraudulent treatment

and billing protocol designed solely to enrich the Defendants; (iii) the billed-for-services, in many

cases, were not legitimately performed at all; (iv) the billed-for services were provided – to the

extent that they were provided at all – by independent contractors, rather than by New York

Medical’s employees; and (vi) neither New York Medical nor the underlying services were in



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compliance with relevant laws and regulations regarding health care practice, including licensing

laws.

          178.   A representative sample of the fraudulent bills and corresponding mailings

submitted to GEICO that comprise, in part, the pattern of racketeering activity identified through

the date of this Complaint are described, in part, in the chart annexed hereto as Exhibit “2”. Each

such mailing was made in furtherance of the mail fraud scheme.

          179.   Qureshi, Solomon, Imam, and Azar knew of, agreed to and acted in furtherance of

the common and overall objective (i.e., to defraud GEICO and other automobile insurers of money)

by submitting or facilitating the submission of the fraudulent charges to GEICO.

          180.   GEICO has been injured in its business and property by reason of the above-

described conduct in that it has paid at least $5,400,000.00 pursuant to the fraudulent bills

submitted through the New York Medical enterprise.

          181.   By reason of its injury, GEICO is entitled to treble damages, costs, and reasonable

attorneys’ fees pursuant to 18 U.S.C. § 1964(c), and any other relief the Court deems just and

proper.

                                NINTH CAUSE OF ACTION
                 Against New York Medical, Qureshi, Solomon, Imam, and Azar
                                   (Common Law Fraud)

          182.   GEICO incorporates, as though fully set forth herein, each and every allegation in

paragraphs 1-128 above.

          183.   New York Medical, Qureshi, Solomon, Imam, and Azar intentionally and

knowingly made false and fraudulent statements of material fact to GEICO and concealed material

facts from GEICO in the course of submitting, or causing to be submitted, thousands of fraudulent

charges through New York Medical for the Fraudulent Services.



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          184.   The false and fraudulent statements of material fact and acts of fraudulent

concealment include: (i) the representation that the Fraudulent Services were medically necessary,

when in fact they were not; (ii) the representation that the Fraudulent Services were provided in

the first instance, when in many cases they were not; and (iii) the representation that the Defendants

entitled to receive no-fault reimbursement for the Fraudulent Services, when in fact they were not.

          185.   New York Medical, Qureshi, Solomon, Imam, and Azar intentionally made the

above-described false and fraudulent statements and concealed material facts in a calculated effort

to induce GEICO to pay charges submitted through New York Medical that were not reimbursable.

          186.   GEICO justifiably relied on these false and fraudulent representations and acts of

fraudulent concealment, and as a proximate result has been injured in its business and property by

reason of the above-described conduct in that it has paid at least $5,400,000.00 pursuant to the

fraudulent bills that were submitted or caused to be submitted by Qureshi, Solomon, Imam, and

Azar through New York Medical.

          187.   New York Medical, Qureshi, Solomon, Imam, and Azar’s extensive fraudulent

conduct demonstrates a high degree of moral turpitude and wanton dishonesty that entitles GEICO

to recover punitive damages.

          188.   Accordingly, by virtue of the foregoing, GEICO is entitled to compensatory and

punitive damages, together with interest and costs, and any other relief the Court deems just and

proper.

                                TENTH CAUSE OF ACTION
                 Against New York Medical, Qureshi, Solomon, Imam, and Azar
                                   (Unjust Enrichment)

          189.   GEICO incorporates, as though fully set forth herein, each and every allegation in

paragraphs 1-128 above.



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        190.      As set forth above, New York Medical, Qureshi, Solomon, Imam, and Azar have

engaged in improper, unlawful, and/or unjust acts, all to the harm and detriment of GEICO.

        191.      When GEICO paid the bills and charges submitted or caused to be submitted by the

Defendants through New York Medical, it reasonably believed that it was legally obligated to

make such payments based on the Defendants’ improper, unlawful, and/or unjust acts.

        192.      New York Medical, Qureshi, Solomon, Imam, and Azar have been enriched at

GEICO’s expense by GEICO’s payments which constituted a benefit that the Defendants

voluntarily accepted notwithstanding their improper, unlawful, and unjust billing scheme.

        193.      New York Medical, Qureshi, Solomon, Imam, and Azar’s retention of GEICO’s

payments violates fundamental principles of justice, equity and good conscience.

        194.      By reason of the above, New York Medical, Qureshi, Solomon, Imam, and Azar

have been unjustly enriched in an amount to be determined at trial, but in no event less than

$5,400,000.00.

                                           JURY DEMAND

        195.      Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs demand a trial by jury.

        WHEREFORE, Plaintiffs Government Employees Insurance Co., GEICO Indemnity Co.,

GEICO General Insurance Company and GEICO Casualty Co. demand that a Judgment be entered

in their favor:

            A. On the First Cause of Action against Star Medical, for a declaration pursuant to the

Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202, that Star Medical has no right to receive

payment for any pending bills submitted to GEICO.

            B. On the Second Cause of Action against Qureshi, Solomon, and Imam,

compensatory damages in favor of GEICO an amount to be determined at trial but in excess of



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$4,190,000.00, together with treble damages, costs, and reasonable attorneys’ fees pursuant to 18

U.S.C. § 1964(c) plus interest.

           C. On the Third Cause of Action against Qureshi, Solomon, Imam, and Azar,

compensatory damages in favor of GEICO an amount to be determined at trial but in excess of

$4,190,000.00, together with treble damages, costs, and reasonable attorneys’ fees pursuant to 18

U.S.C. § 1964(c) plus interest.

           D. On the Fourth Cause of Action against Star Medical, Qureshi, Solomon, Imam, and

Azar compensatory damages in favor of GEICO an amount to be determined at trial but in excess

of $4,190,000.00, together with punitive damages, costs, interest and such other and further relief

as this Court deems just and proper.

           E. On the Fifth Cause of Action against Star Medical, Qureshi, Solomon, Imam, and

Azar compensatory damages in favor of GEICO an amount to be determined at trial but in excess

of $4,190,000.00, plus costs, interest and such other and further relief as this Court deems just and

proper.

           F. On the Sixth Cause of Action against New York Medical for a declaration, pursuant

to the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202, that New York Medical has no

right to receive payment for any pending bills submitted to GEICO.

           G. On the Seventh Cause of Action against Qureshi, Solomon, and Imam,

compensatory damages in favor of GEICO an amount to be determined at trial but in excess of

$5,400,000.00, together with treble damages, costs, and reasonable attorneys’ fees pursuant to 18

U.S.C. § 1964(c) plus interest.

           H. On the Eighth Cause of Action against Qureshi, Solomon, Imam, and Azar,

compensatory damages in favor of GEICO an amount to be determined at trial but in excess of



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$5,400,000.00, together with treble damages, costs, and reasonable attorneys’ fees pursuant to 18

U.S.C. § 1964(c) plus interest.

           I. On the Ninth Cause of Action against New York Medical, Qureshi, Solomon,

Imam, and Azar, compensatory damages in favor of GEICO an amount to be determined at trial

but in excess of $5,400,000.00, together with punitive damages, costs, interest and such other and

further relief as this Court deems just and proper.

           J. On the Tenth Cause of Action against New York Medical, Qureshi, Solomon,

Imam, and Azar, compensatory damages in favor of GEICO an amount to be determined at trial

but in excess of $5,400,000.00, plus costs, interest and such other and further relief as this Court

deems just and proper.

Dated: November 19, 2024


                                              RIVKIN RADLER LLP

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